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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 SOUTH BEND DIVISION


JOHN WESLEY KIMBROUGH, III                           )
                                                     )
                       Plaintiff,                    )
                                                     )
               v.                                    )       No. 3:18-cv-887-JD-MGG
                                                     )
JOSEPH THOMPSON, et al.                              )
                                                     )
                       Defendants.                   )


                                    NOTICE OF DEPOSITION
TO:                                   All Attorneys of Record
DATE AND HOUR:                        Tuesday, March 3, 2020 at 11:30 a.m. CST

PLACE OF DEPOSITION:                  Correctional Industrial Facility
                                      5124 W. Reformatory Road
                                      Pendleton, IN 46064

DEPONENT:                             John Kimbrough II (IDOC# 219656 )

       PLEASE TAKE NOTICE THAT at the above date, hour and place, counsel for

Defendants will take the deposition of the above witness, to be taken upon oral examination for

the purpose of discovery, pursuant to Rule 30 of the Federal Rules of Civil Procedure, before a

certified court reporter and notary public. All parties are invited to attend and cross-examine.

Said deposition will continue from day to day at the same location until completed.
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                                             Respectfully submitted,

                                             KATZ KORIN CUNNINGHAM, PC


                                             /s/ Douglass R. Bitner
                                             Douglass R. Bitner, Attorney No. 34981-49
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                                             Attorney for Defendants Rebecca Hess, Carl
                                             Kuenzli, M.D., Nancy Marthakis, M.D. and Wexford
                                             of Indiana, LLC




                                CERTIFICATE OF SERVICE

       I certify that on January 17, 2020, a copy of the foregoing was filed electronically using

the Court’s electronic filing system (CM/ECF). Notice of this filing was electronically served via

CM/ECF upon the following person(s):

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